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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 22-cv-22232-BLOOM/Otazo-Reyes

 AISHIA PETERSEN,

        Plaintiff,

 v.

 TEXSAL S.A.S.,
 doing business as
 AZULU,

       Defendant.
 ________________________________/

                        ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court upon the Notice of Voluntary Dismissal, ECF No. [27]

 (“Notice”), filed on March 14, 2023. The Court has carefully reviewed the Notice, the record in

 this case, and is otherwise fully advised. Accordingly, it is ORDERED AND ADJUDGED as

 follows:

            1. The Notice, ECF No. [27], is APPROVED and ADOPTED;

            2. The above-styled case is DISMISSED WITH PREJUDICE;

            3. Each party shall bear its own attorneys’ fees and costs;

            4. To the extent not otherwise disposed of, all pending motions are denied as MOOT

                and all deadlines are TERMINATED;

            5. The Clerk of Court is directed to CLOSE this case.
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                                              Case No. 22-cv-22232-BLOOM/Otazo-Reyes


        DONE AND ORDERED in Chambers at Miami, Florida, on March 14, 2023.




                                                 _________________________________
                                                 BETH BLOOM
                                                 UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record




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